













NUMBER 13-08-103-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


_______________________________________________________ _


THE LORD'S HOUSE OF REFUGE, 	Appellant,


v.



CITY OF PHARR, 	Appellee.

________________________________________________________


On Appeal from the County Court at Law No. 4 


of Hidalgo County, Texas.


________________________________________________________


MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Rodriguez and Benavides


Memorandum Opinion Per Curiam


	Appellant, The Lord's House of Refuge, perfected an appeal from a judgment
entered by in trial court cause number CL-07-1755-D by the County Court at Law No. 4 of
Hidalgo County, Texas.  Appellant has filed a motion to dismiss the appeal on grounds that
the matter has been resolved between the parties, and, accordingly, it no longer desires
to prosecute the appeal.  

	The Court, having considered the documents on file and appellant's motion to
dismiss the appeal, is of the opinion that the motion should be granted.  See Tex. R. App.
P. 42.1(a).  Appellant's motion to dismiss is granted, and the appeal is hereby DISMISSED. 
Costs will be taxed against appellant.  See Tex. R. App. P. 42.1(d) ("Absent agreement of
the parties, the court will tax costs against the appellant.").  Having dismissed the appeal
at appellant's request, no motion for rehearing will be entertained, and our mandate will
issue forthwith.							

										PER CURIAM

Memorandum Opinion delivered and

filed this the 13th day of March, 2008. 





	


